Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page1of 25

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PANAGIOTA APOSTOLIDIS,

Plaintiff : DOCKET NO:
Vv. :

HERSHEY ENTERTAINMENT &

RESORTS COMPANY d/b/a

MELTSPA BY HERSHEY,

SHIAN WING, AND SAMANTHA : Jury Trial Demanded
FISHER :

Defendants

COMPLAINT

Plaintiff, PANAGIOTA APOSTOLIDIS (“Apostolidis”), by and through her
undersigned attorney, Peggy M. Morcom, Esquire, and Morcom Law, LLC, files
this Complaint against Defendant, HERSHEY ENTERTAINMENT &

RESORTS COMPANY d/b/a MELTSPA BY HERSHEY (“HERCO”), SHIAN
WING (“Wing”), and SAMANTHA FISHER (“Fisher”) for violations of the
Americans with Disabilities Act of 1990 (as amended) (“ADA”), 42 U.S.C. §
12101, et seq.; Pennsylvania Wage Payment and Collection Law, 43 Pa.Stat.Ann.
§ 2601.1, et seq.; the Pennsylvania Human Relations Act, 43 P.S. § 951, et seq.,
Family Medical Leave Act, 29 U.S.C. § 2601, et seq.; the Pennsylvania Human

Relations Act, 43 P.S. § 951, et seq.; and retaliation. Additionally, Plaintiff alleges
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 2 of 25

retaliation for her request for a reasonable accommodation and internal complaints
regarding management’s failures to comply with COVID-19 protocols and
violations of the PMWL, breach of confidentiality, and defamation. Plaintiff
alleges and avers as follows:

JURSIDICTION AND VENUE

1. Jurisdiction is appropriate in this Court under 28 U.S.C. §1331 and
§1367.

2. Venue is proper because all parties reside or do business in this
jurisdiction and all unlawful employment practices complained of occurred in this
District.

3. On February 17, 2022, Apostolidis dual-filed a Complaint with the
Pennsylvania Human Relations Commission (“PHRC”) and Equal Employment
Opportunity Commission (“EEOC”) alleging discrimination pursuant to the PHRA,
ADEA, and the ADA.

4. Apostolidis exhausted her administrative remedies on September 21,
2022 when a Notice of Right to Sue was issued and was received by Apostolidis on
that same date. See Exhibit “A” attached hereto.

PARTIES
5. Apostolidis is an adult individual residing in Palmyra, Lebanon County,

Pennsylvania.
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 3of 25

6. Hershey Entertainment & Resorts Company (hereinafter “HERCO”), is
a Pennsylvania corporation organized under the laws of the Commonwealth of
Pennsylvania, with a principal place of business at 27 W. Chocolate Avenue, Hershey,
Pennsylvania 17033.

7. Hershey Entertainment & Resorts Company is doing business as MeltSpa
by Hershey with a principal place of business at 11 E. Chocolate Avenue, Hershey,
Pennsylvania 17033. HERCO through MeltSpa provides salon and spa treatment
services.

8.  Shian Wing (hereinafter "Wing") was employed as the Director of
MeltSpa by Hershey, at all relevant times herein.

9. | Samantha Fisher (hereinafter “Fisher”) was employed as the Manager of
MeltSpa by Hershey, at all relevant times herein.

10. In August of 2017, Apostolidis was hired by HERCO into the position of
full-time Lead Esthetician, and she was primarily responsible for providing spa
treatment services to clients.

11. On September 30, 2021, Apostolidis was terminated from her
employment with HERCO.

12. Apostolidis was at all times qualified for the position of Lead

Esthetician.
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 4of 25

13. Apostolidis’ performance at HERCO was exemplary, and she was
never subjected to any form of discipline in her four years of employment.

COUNT I
Americans with Disabilities Act (Association Discrimination)

14. Plaintiff incorporates Paragraphs 1 through 13, as though fully set
forth herein.

15. HERCO employs in excess of 100 individuals, and HERCO is an
“employer” as that term is defined under the ADA.

16. In August of 2021, an incident occurred wherein Apostolidis' teenage
son, suffered a seizure. As a result of his medical condition, her son required
additional assistance from Apostolidis when not in school.

17. In August of 2021, Apostolidis informed management and Human
Resources at HERCO of her son’s medical condition,

18. On August 24, 2021, Apostolidis emailed Wing about contacting
Human Resources for leave under the Family Medical Leave Act in order to care
for her son including, but not limited to, attendance at medical appointments and
medical treatment at to provide care when not in school.

19. Apostolidis advised Wing that she expected to return to work the
following week due to scheduling of testing and medical appointments.

20. On August 31, 2021, Apostolidis emailed Wing requesting an

accommodation in the form of a schedule modification to work Monday through
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 5of 25

Friday to care for her son, an individual with a disability. At that time, Apostolidis
schedule was Sunday through Thursday.

21. Apostolidis stated that she could remain on full time (40 hours), but
she was not available to work Sunday due to her son’s medical condition,
treatments, and testing.

22. Prior to March 2020, Apostolidis consistently worked a Monday
through Friday schedule.

23. On September 4, 2021, Apostolidis emailed Wing, Krystal L. King
(Human Resources) (‘King"), and Bill Hendrix ("Hendrix"), about considering
going to part-time status to care for her son. She explained that because her son
was under 18 years of age, she was required to attend every doctor's appointment
with him. She also advised that her son's father resided in Phoenix, Arizona, and
she was his sole provider and caretaker. She reiterated that she would be willing to
work full-time on a Monday through Friday schedule.

24. Wing informed Apostolidis that in order to maintain full-time status,
she was required to work on Saturday or Sunday, with no exceptions, and she was
required to work five (5) eight (8) hour days only per week.

25. Other employees were permitted to work four (4) ten (10) hour days
in order to meet a 40-hour requirement. Apostolidis offered to work four (4) ten

(10) hour days, for which Wing denied her request.
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 6of 25

27. Apostolidis attempted to speak with Wing regarding a job
accommodation, Wing responded by saying, “If you're not happy here, go work
somewhere else."

28. In September, Apostolidis contacted King, who advised her to
complete the accommodation request form, which Apostolidis completed and
hand-delivered to Human Resources.

29.  Apostolidis was never contacted by Human Resources to discuss her
accommodation request.

30. In September, Apostolidis was contacted by King and Wing, who
indicated that she did not qualify for an accommodation under the ADA because
the accommodation request was not related to her disability. They advised her that
she could be off the upcoming Sunday to coordinate childcare needs.

31. Due to HERCO being unwilling to provide any accommodation, in

particular modification of schedule, Apostolidis was forced to begin looking for

other work.

32. On September 29, 2021, Apostolidis informed Fisher that she would
be looking for other work to accommodate her son’s care and treatment, and she
indicated that sufficient and appropriate notice would be provided to HERCO once

she found new employment.
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 7 of 25

33. On September 30, 2021, Apostolidis reported to work as scheduled.
Upon entering the breakroom, she reviewed the schedule and noted that no shifts
were scheduled for her to work for the following two (2) weeks, except for
Monday, October 4, 2021.

34. Apostolidis asked Fisher, why her schedule was blocked out, and
Fisher informed Apostolidis that she resigned the day prior and that "Monday is
your last day."

35. Apostolidis did not resign her employment, and she advised Fisher of
the same.

36. Other employees of HERCO were not scheduled on Saturday and
Sunday.

37. When Apostolidis sought an accommodation, HERCO failed to
engage in the interactive process and denied her request through Wing.

38. When Apostolidis advised Fisher of her intent to seek
other employment because of need to care for her son on weekends and attend
doctor’s appointments, Fisher terminated her employment without notice.

39. The actions of HERCO, through Fisher, Wing, and King were
intentional and related to Apostolidis’ association with her son, an individual with

a disability and his care needs.
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 8 of 25

40.  HERCO was aware of Apostolidis’ son’s diagnosis and medical
treatment.

41. Wing, Fisher, Human Resources, and HERCO were aware of
Apostolidis’ son’s disabilities and/or perceived Apostolidis’ son as suffering from
a serious health condition.

42. Apostolidis sought a reasonable accommodation related to her son’s
medical condition and treatment, and Fisher chose to terminate Apostolidis due to
her accommodation request and association with a person with a disability.

43. Asadirect and/or proximate result of the above-described actions,
Apostolidis suffered emotional and mental injuries, including but not limited to
past and present pain and suffering, humiliation, anxiety, and embarrassment.

44. As adirect and proximate result of the above-described actions,
Apostolidis suffered financial injury, including but not limited to future loss of
earnings, loss of earning potential, loss of benefits, loss of retirement benefits.

45. Asadirect and proximate result of the above-described conduct,
Apostolidis suffered professional injuries including, but not limited to, her
professional reputation, professional development and loss of potential promotions,

loss of retirement benefits.
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 9of 25

COUNT Il
Family Medical Leave Act (Violation and Interference with Rights)

46. Plaintiff incorporates paragraphs 1 through 45, as though fully set
forth herein.

47. Apostolidis was employed by HERCO for at least 12 months during
the 12-month period immediately preceding her need for family medical leave, and
she worked at least 1,250 hours during the 12-month period immediately preceding
this need for family medical leave.

48. Apostolidis was qualified to receive FMLA.

49. HERCO employed 50 or more employees during Apostolidis’
employment, and is an “employer” as that term is defined under the FMLA.

50. Apostolidis was eligible to receive 12 weeks of unpaid leave per year
for her son’s serious health condition, a seizure disorder.

51. A seizure disorder is a “serious health condition” as that term is
defined under the FMLA.

52. HERCO through Wing, Fisher, and King were aware of Apostolidis
need for family medical leave to care for her son, who suffers from a serious health
condition.

53. Apostolidis was eligible to take 12 weeks of FMLA leave

intermittently or consecutively to care for her son.
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 10of 25

54. | HERCO failed to provide Apostolidis with the appropriate notices as
required under the FMLA.

55. | HERCO through Fisher terminated Apostolidis’ employment when it
was aware that she required and was eligible for leave under the FMLA.

56. Apostolidis’ need for family medical leave continued from August
2021 until she was terminated from her employment on September 30, 2021.

57. HERCO, Fisher, Wing, and King intentionally interfered with
Apostolidis’ rights under the FMLA when they terminated her employment.

58. The acts and omissions of HERCO and its management, as
incorporated herein, were in violation of the FMLA.

59. The actions of HERCo and its management were intentional and
willful.

60. As adirect and/or proximate result of the above-described actions,
Apostolidis suffered emotional and mental injuries, including but not limited to
past and present pain and suffering, humiliation, anxiety, and embarrassment.

61. Asadirect and proximate result of the above-described actions,
Apostolidis suffered financial injury, including but not limited to future loss of
earnings, loss of earning potential, loss of benefits, loss of retirement benefits.

62. Asadirect and proximate result of the above-described conduct,

Apostolidis suffered professional injuries including, but not limited to, his
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page11of 25

professional reputation, professional development and loss of potential promotions,
loss of retirement benefits.

COUNT II
Pennsylvania Wage Payment and Collection Law
43 Pa.Stat.Ann. § 2601.1, et seq.

63. Plaintiff incorporates paragraphs 1 through 62, as though fully set
forth herein.

64. Attimes relevant to this action, Apostolidis was an employee of
HERCO, and HERCO has been an employer within the meaning of the PWPCL
and are therefore subject to the PWPCL, 43 Pa.Stat.Ann. § 260.2(a).

65. On March 16, 2020, HERCO temporarily closed MeltSpa due
to the COVID-19 pandemic, and HERCO did not re-open MeltSpa until July of
2020.

66. Asaresult of the COVID-19 pandemic, in or about March 2020 until
October 2020, Apostolidis remained employed with HERCO/MeltSpa but in a
furloughed status, and she continued to receive her full medical benefits during this
period of time.

67. Upon returning to work, many businesses, were faced with the
requirements of new COVID protocols for the safety of its employees and the

public, including HERCO and MeltSpa.
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 12 of 25

68. Upon returning to work in October of 2020, Apostolidis expressed to
management several concerns regarding HERCO and MeltSpa not following
COVID protocol, including but not limited to, a lack of extra cleaning products,
check-in issues, and individuals not social distancing in the facility.

69. In November of 2020, Apostolidis asked to speak with Jason
White, Managing Director of Corporate Safety and Security ("White"), but Kerri
Stoy, former manager advised her that Wing directed Apostolidis not to speak to
White.

70. In late December 2020 and/or mid-January of 2021, Apostolidis
engaged White in a telephone conversation regarding her concerns regarding
violations of COVID protocols at MeltSpa.

71. White advised Apostolidis not to tell anyone they spoke regarding her
complaints because it would not be good for her continued employment.

72. In February of 2021, Wing advised full-time employees, including
Apostolidis, that "disconnect week" was being given to them by HERCO for their
hard work during the COVID-19 pandemic. Wing informed employees that the
“disconnect week” would encompass a paid week off.

73. Apostolidis never received her “disconnect week” as promised by

HERCO.
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page13of 25

74. In March of 2021, Apostolidis requested a meeting with King because
she was refused the “disconnect week” while management and a concierge person
were provided the “disconnect week”.

75. Inor about March or April 2021, Apostolidis was able to obtain a
meeting with King and Hendrix. During the meeting, Apostolidis complained
about the failure to provide the “disconnect week” as promised and the failure of
MeltSpa to comply with COVID-19 protocols.

76. HERCO failed to pay promised benefits or “fringe benefits,” which
are considered “wages” as defined in Section 2.1 of the PWPCL.

77. _HERCO maintains a policy that requires clients of MeltSpa to pre-pay
a tip for services in the amount of 20% of the value of the services provided.

78. During Apostolidis employment, she only received 17% of the tip
charged to clients for services rendered by her.

79. Apostolidis complained to management regarding only receiving 17%
of the 20% tip received. Management advised that 1% of the tip was directed to
concierge staff (who do not provide services in the spa). Management did not
account for the remaining 2% of the tip received by clients.

80. Apostolidis believes and avers that HERCO and MeltSpa failed to pay
the entire tip income received from clients for services rendered by Apostolidis

during her employment with MeltSpa.
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page14of 25

81. The acts and omissions of HERCO and MeltSpa for failure to provide
or pay fringe benefits and wages, is a violation of Pennsylvania Wage Payment and
Collection Law.

82. As adirect and proximate result of the above-described actions,
Apostolidis suffered financial injury.

COUNT IV
Violation of the Fair Labor Standards Act

83. Plaintiff incorporates paragraph 1 through 82, as though fully set forth
herein.

84. HERCO d/b/a MeltSpa is an “employer” as that termed is defined
under the Fair Labor Standards Act.

85. HERCO failed to remit the full 20% tip required to be paid by clients
of MeltSpa to Apostolidis for services rendered by Apostolidis.

86. HERCO remitted 17% of the 20% tip required to be paid by clients of
MeltSpa to Apostolidis for services rendered by Apostolidis.

87. HERCO’s acts were intentional and a violation of the Fair Labor

Standards Act.
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page15of 25

88. Asaresult of HERCO’s actions, Apostolidis suffered financial
injuries for failure to remit earned and paid tip income for the entirety of
Apostolidis employment! with HERCO d/b/a MeltSpa.

89. Apostolidis is entitled to the payment of liquidated damages equal to
the amount of back wages owed as a result of HERCO’s failure to properly remit
tip income to Apostolidis.

90. Asaresult of Acclaim’s violations of the Fair Labor Standards Act,
Bender is entitled to payment of her attorney’s fees and costs.

COUNT V
Retaliation

91. Plaintiff incorporates paragraphs | through 90, as though fully set
forth herein.

92. In October of 2020, Apostolidis complained about MeltSpa’s failure
to follow COVID protocols, including a lack of extra cleaning products, check-in
issues, and lack of social distancing at the facility.

93. In late December 2020 and/or mid-January of 2021, Apostolidis
engaged White in a telephone conversation regarding her concerns regarding

violations of COVID protocols at MeltSpa.

1 The FLSA has a three year look back from the date of the filing of the claim.
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 16 of 25

94. White advised Apostolidis not to tell anyone they spoke regarding her
complaints because it would not be good for her continued employment.

95. In or about March or April 2021, Apostolidis obtained a meeting with
King and Hendrix. During the meeting, Apostolidis complained about the failure
to provide the “disconnect week” as promised and the failure of MeltSpa to comply
with COVID-19 protocols.

96. Apostolidis complained to Human Resources and management
regarding HERCO's failure to pay/provide the "disconnect week" to employees at
MeltSpa by Hershey, which was relayed to employees as part of employee
retention between October 2020 and August 2021.

97. No action was taken by HERCO to correct the failure to follow
COVID protocols at MeltSpa.

98. No action was taken by HERCO to correct the failure to provide the
“disconnect week” benefit to employees, as promised.

99. In August of 2021 through to her termination, Apostolidis sought
family medical leave to care for her son, who suffered from a “serious health
condition.

100. On September 30, 2021, Apostolidis was notified that she was

terminated by Fisher, with an effective date of October 4, 2022.
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page17 of 25

101. The actions of HERCO and its management team were in close
proximity to Apostolidis’ complaints regarding failure to properly pay wages and
benefits, failure to follow COVID-19 protocols, and her request for benefits under
the ADA and FMLA.

102. Apostolidis believes Fisher and HERCO intentionally terminated her
employment as a result of her complaints regarding failure to properly follow
COVID-19 protocols, failure to provide promised benefits under the PWPCL and
FLSA, her association with an individual with a disability, and her request for
benefits under the ADA and FMLA.

103. Asadirect and/or proximate result of the above-described actions,
Apostolidis suffered emotional and mental injuries, including but not limited to
past and present pain and suffering, humiliation, anxiety, and embarrassment.

104. As adirect and mtooahitale result of the above-described actions,
Apostolidis suffered financial injury, including but not limited to future loss of
earnings, loss of earning potential, loss of benefits, loss of retirement benefits.

105. As adirect and proximate result of the above-described conduct,
Apostolidis suffered professional injuries including, but not limited to, her
professional reputation, professional development, loss of potential promotions,
and loss of retirement benefits.

COUNT VI
Breach of Confidentiality

Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 18of 25

106. Plaintiff incorporates paragraphs 1 through 105, as though fully set
forth herein.

107. The personnel records of Apostolidis and information associated
therewith are confidential.

108. Fisher and Wing breached such confidentiality when they spoke to
employees at HERCO and members of the general public regarding Apostolidis.

109. Following Apostolidis’ termination in September 2021, Apostolidis
learned through the Hershey community that Fisher and Wing informed numerous
individuals, including employees and the public that Apostolidis quit her
employment, which was untrue.

110. As adirect and/or proximate result of the above-described actions,
Apostolidis suffered emotional and mental injuries, including but not limited to
past and present pain and suffering, humiliation, anxiety, and embarrassment.

111. Asadirect and proximate result of the above-described actions,
Apostolidis suffered financial injury, including but not limited to future loss of
earnings, loss of earning potential, loss of benefits, loss of retirement benefits.

112. As adirect and proximate result of the above-described conduct,
Apostolidis suffered professional injuries including, but not limited to, her
professional reputation, professional development, loss of potential promotions,

and loss of retirement benefits.
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 19 of 25

COUNT VII
Defamation

113. Plaintiff incorporates paragraphs | through 112, as though fully set
forth herein.

114. Following her termination in September 2021, Apostolidis learned
through the Hershey community that Fisher and Wing engaged in a concerted
effort to share untruths regarding Apostolidis within the Hershey community, by
communicating such untruths to employees and clients.

115. Fisher and Wing as management employees of HERCO d/b/a MeltSpa
communicated to employees and clients that Apostolidis quit her employment.

116. Fisher and Wing’s false statements were an attempt to harm
Apostolidis’ good reputation in the community and to harm her financially,
professionally. and personally.

117. Fisher and Wing, in their positions as Manager and Director,
respectively engaged in disseminating false, destructive, and defamatory rumors
about Apostolidis.

118. Asa direct and/or proximate result of the above-described actions,
Apostolidis suffered emotional and mental injuries, including but not limited to

past and present pain and suffering, humiliation, anxiety, and embarrassment.
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 20 of 25

119. As adirect and proximate result of the above-described actions,
Apostolidis suffered financial injury, including but not limited to future loss of
earnings, loss of earning potential, loss of benefits, loss of retirement benefits.

120. Asa direct and proximate result of the above-described conduct,
Apostolidis suffered professional injuries including, but not limited to, her
professional reputation, professional development, loss of potential promotions,

and loss of retirement benefits.

REQUESTED RELIEF

WHEREFORE, Plaintiff, respectfully requests this Honorable Court to enter
Judgment in his favor and against Defendant for damages in an amount in excess of
$75,000.00, plus interests and costs of suit as well as the following:

(a) Exercise jurisdiction over this matter;

(b) Order Defendant to reimburse Plaintiff for all salary and benefits lost
by her as a result of Defendant’s actions, including but not limited to,
front pay, back pay, and compensatory damages;

(c) Award Plaintiff punitive, where appropriate;

(d) Award Plaintiff all costs of this action, including reasonable attorney’s
fees and costs;

(e) Award Plaintiff such other and further relief as this court deems just

proper and equitable.
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 21 of 25

Respectfully submitted,

/s/Peggy M. Morcom

Peggy M. Morcom, Esquire
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Counsel for Plaintiff

Date: 12/20/2022
Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 22 of 25

VERIFICATION

The undersigned hereby verifies that the statements in the foregoing
document are based upon information which has been furnished to counsel by me
and information which has been gathered by counsel in the preparation of this
lawsuit. The language of the foregoing document is that of counsel and not my
own. I have read the foregoing document and to the extent that it is based upon
information which I have given to counsel, it is true and correct to the best of my
knowledge, information and belief. To the extent that the contents of the foregoing
document are that of counsel, I have relied upon my counsel in making this
verification. The undersigned also understands that the statements therein are made
subject to the penalties of 18 Pa.C.S §4904 relating to unsworn falsification to

As Ti

authorities.

Phnagidta Apostolidis2~

Date: 2 |14] Aw

Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 23 of 25

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Philadelphia District Office
801 Market St, Suite 1000
Philadelphia, PA 19107
(267) 589-9700

Website: www.ceoc.gov

DETERMINATION AND NOTICE OF RIGHTS
(This Notice replaces EEOC FORMS 161 & 161-A)

Issued On: 09/21/2022

To: Panagiota Apostolidis
84 Harvest Mill Lane
Palmyra, PA 17078

Charge No: 530-2022-02992

EEOC Representative: Legal Unit
267-589-9707

DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit. This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful
violations) of the alleged EPA underpayment. This means that backpay due for any violations that
occurred more than 2 years (3 years) before you file suit may not be collectible.

PRIVATE SuIT RIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA
underpayment: back pay due for violations that occurred more than 2 years (3 years) before you file
suit may not be collectible. For example, if you were underpaid under the EPA for work performed from
7/1/08 to 12/1/08, you should file suit before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due
for July 2008. This time limit for filing an EPA suit is separate from the 90-day filing period under Title
VII, the ADA, GINA or the ADEA referred to above. Therefore, if you also plan to sue under Title VII, the
ADA, GINA or the ADEA, in addition to suing on the EPA claim, suit must be filed within 90 days of this
Notice and within the 2- or 3-year EPA back pay recovery period
EXHIBIT

A

Case 1:22-cv-02026-JPW Document1 Filed 12/20/22 Page 24 of 25

If you file suit, based on this charge, please send a copy of your court complaint to this office.

On behalf of the Commission,

Digitally Signed By: Karen McDonough
09/21/2022

Karen McDonough
Deputy District Director
Case 1:22-cv-02026-JPW Document 1

Ce:

Aparna Peters

HERSHEY ENTERTAINMENT & RESORTS COMPANY
27 W. Chocolate Avenue

Hershey, PA 17033

James T Podgorney
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226 West Chocolate Avenue
Hershey, PA 17033

Peggy M Morcom

Morcom Law

226 West Chocolate Avenue
Hershey, PA 17033

Please retain this notice for your records.

Filed 12/20/22

Page 25 of 25
